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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION

RUSSELL ZINTER, et al;
                                            CIVIL ACTION NO: 5:18-CV-680
            Plaintiffs,

VS.

CHIEF JOSEPH SALVAGGIO, et al;

          Defendants.
________________________________________/

         [PROPOSED] ORDER RESCHEDULING TRO HEARING

      This matter having come before the Court on Plaintiffs’ Motion to Reschedule

the Temporary Restraining Order Hearing scheduled for September 7, 2018, and the

Court being otherwise fully advised in the premises;

      IT IS SO ORDERED that Plaintiffs’ motion is GRANTED.

      IT IS FURTHER ORDERED that the September 7, 2018 hearing is cancelled

and will be rescheduled to a date and time to be determined by the Court.


                                      Hon. Fred Biery
                                      UNITED STATES DISTRICT JUDGE
Dated: ________________
